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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA


  LUIS MANUEL RODRIGUEZ, et al.,
                                                       Case No.: 1:20-cv-23287-DPG
                                Plaintiffs,

         v.


  IMPERIAL BRANDS PLC, et al.,

                                Defendants.


              DEFENDANT IMPERIAL BRANDS PLC’S THIRD STATUS REPORT

         Defendant Imperial Brands plc (“Imperial”) respectfully submits this status report pursuant

  to the Court’s September 23, 2020 Order [D.E. 49] granting Imperial’s motion for a limited stay

  of proceedings and directing Imperial to submit monthly status reports on its application to the

  European Commission (the “Commission”) for authorization to defend this lawsuit or, at a

  minimum, to file and litigate a motion to dismiss. By way of update, Imperial states as follows:

         1.      As Imperial previously advised the Court [D.E. 14, D.E. 15-1], on August 27, 2020,

  Imperial submitted an application to the Commission under Article 5 paragraph 2 of Council

  Regulation (EC) No. 2271/96, Protecting Against the Effects of the Extra-Territorial Application

  of Legislation Adopted by a Third County, and Actions Based Thereon or Resulting Therefrom,

  1996 O.J. (L. 309) 1 (EC) (“Regulation 2271/96”), for authorization to defend this lawsuit or, at a

  minimum, authorization in the first instance to file and litigate a motion to dismiss (the

  “Application”).

         2.      The Commission has acknowledged receipt of Imperial’s Application, and has

  cautioned Imperial that unless and until the Commission provides authorization Imperial is
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  prohibited from appearing before this Court pursuant to the summons in this action under Title III

  of the Helms-Burton Act.

          3.      In its first status report filed on October 23, 2020 [D.E. 51], Imperial advised that

  the Commission had informed Imperial that the Commission was analyzing Imperial’s Application

  and that the Commission would do its utmost to ensure a decision was made in due course. Id. ¶ 3.

  In its second status report filed on November 23, 2020 [D.E. 52], Imperial advised that the

  Commission had informed Imperial that the Commission was continuing to assess Imperial’s

  Application including by consulting extensively internally and with European Union Member

  States’ authorities, and that, despite the challenges caused by the pandemic, the Commission was

  doing its utmost to ensure that a decision on Imperial’s Application was made in due course.

          4.      Imperial requested that the Commission provide Imperial a further update on the

  status of Imperial’s Application ahead of the December 23, 2020 due date for the third status report

  to the Court. On December 22, 2020, the Commission informed Imperial that it continues to assess

  Imperial’s Application, including by consulting internally and with the Member States’ authorities.

          5.      As Imperial explained in its motion for a limited stay [D.E. 14], the “Brexit”

  transition period ends on December 31, 2020. Id. ¶ 13. From January 1, 2021, Regulation 2271/96

  will be incorporated into English law as “retained EU law,” and a U.K. Secretary of State will

  assume the role of the Commission in resolving requests from U.K.-based entities like Imperial

  for authorization to respond to a Title III action. Id.

          6.      Accordingly, the Commission’s December 22, 2020 update noted that in the event

  the Commission does not take a decision on Imperial’s Application by December 31, 2020, then

  the Application will become moot.

          7.      In that event, as anticipated at the September 23, 2020 hearing on Imperial’s motion

  for a limited stay [Tr. dated Sept. 23, 2020 at 9], promptly after January 1, 2021, Imperial will

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  submit an application for authorization to the United Kingdom Department for International Trade.

  Imperial will report on the status of any such application in its next status report to the Court, on

  January 25, 2021.

  Dated: December 23, 2020
         Miami, Florida
                                                 Respectfully submitted,

                                                 /s/ Mark F. Raymond
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